 1   Robert Tauler, Esq. (SBN 241964)
     robert@taulersmith.com
 2   Matthew J. Smith, Esq. (SBN 240353)
     matthew@taulersmith.com
 3   TAULER SMITH LLP
     626 Wilshire Boulevard, Suite 550
 4   Los Angeles, California 90017
     Tel: (213) 927-9270
 5
     Attorneys for Plaintiff
 6   Courtney Mitchener
 7
 8                                  UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10
        COURTNEY MITCHENER, individually            Case No. 5:24-cv-02721
11
        and on behalf of all others similarly
        situated,                                   CLASS ACTION COMPLAINT FOR:
12
                                                    VIOLATIONS OF CALIFORNIA
13                     Plaintiff,                   TRAP AND TRACE LAW (CAL.
               vs.                                  PENAL CODE § 638.51)
14
        A.D.T. CORPORATION, a Michigan
15
        Corporation; and DOES 1 through 25,
16      inclusive,

17                   Defendants.
18

19
20
21
22
23
24
25
26
27
28
                                              COMPLAINT
 1                                             JURISDICTION

 2          1.       This Court has subject matter jurisdiction over this action pursuant to the Class

 3   Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because the total matter in controversy

 4   exceeds $5,000,000 and there are over 100 members of the proposed class. Further, at least one

 5   member of the proposed class is a citizen of a State within the United States and at least one

 6   defendant is the citizen or subject of a foreign state.

 7          2.      This Court has personal jurisdiction over Defendant because, on information and

 8   belief, Defendant has purposefully directed its activities to the Northern District of California by

 9   regularly tracking individuals in California through its website. Defendant’s illegal conduct is

10   directed at and harms California residents, including Plaintiff, and if not for Defendant’s contact

11   with the forum, Plaintiff would not have suffered harm.

12          3.      Venue is proper in the Central District of California pursuant to 28 U.S.C. § 1391

13   because Defendant (1) is authorized to conduct business in this District and has intentionally

14   availed itself of the laws and markets within this District; (2) does substantial business within this

15   District; (3) is subject to personal jurisdiction in this District because it has availed itself of the

16   laws and markets within this District; and the injury to Plaintiff occurred within this District.

17                                                 PARTIES

18          4.      Plaintiff Courtney Mitchener (“Plaintiff”) is a citizen of California residing within

19   the Northern District of California.

20          5.      A.D.T. Corporation (“Defendant”) is a Michigan corporation that owns, operates,

21   and/or controls www.adt.com.

22          6.      The above-named Defendant, along with its affiliates and agents, are collectively

23   referred to as “Defendants.” The true names and capacities of the Defendants sued herein as DOE

24   DEFENDANTS 1 through 25, inclusive, are currently unknown to Plaintiff, who therefore sues

25   such Defendants by fictitious names. Each of the Defendants designated herein as a DOE is legally

26   responsible for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the

27
28
                                                 COMPLAINT
                                                    1
 1   Complaint to reflect the true names and capacities of the DOE Defendants when such identities

 2   become known.

 3          7.      Plaintiff is informed and believes that at all relevant times, every Defendant was

 4   acting as an agent and/or employee of each of the other Defendants and was acting within the

 5   course and scope of said agency and/or employment with the full knowledge and consent of each

 6   of the other Defendants, and that each of the acts and/or omissions complained of herein was

 7   ratified by each of the other Defendants.

 8                                     FACTUAL ALLEGATIONS

 9          8.      Defendant is security company home security systems and services. Defendant

10   operates the website www.adt.com. Defendant has installed on its Website software created by

11   TikTok in order to identify website visitors. (the “TikTok Software”). The TikTok Software acts

12   by via a process known as “fingerprinting.” Put simply, the TikTok Software collects as much

13   data as it can about an otherwise anonymous visitor to the Website and matches it with existing

14   data TikTok has acquired and accumulated about hundreds of millions of Americans.

15          9.      The TikTok Software acts via a process known as “fingerprinting.” Put simply, the

16   TikTok Software collects as much data as it can about an otherwise anonymous visitor to the

17   Website and matches it with existing data TikTok has acquired and accumulated about hundreds

18   of millions of Americans.

19          10.     The TikTok Software gathers device and browser information, geographic

20   information, referral tracking, and url tracking by running code or “scripts” on the Website to send

21   user details to TikTok.

22          11.     The TikTok Software begins to collect information the moment a user lands on the

23   Website. Thus, even though the Website has a “cookie banner” the information has already been

24   sent to TikTok regarding the user’s visit.

25          12.     The TikTok Software runs on virtually every page of Defendant’s website, sending

26   to TikTok images of website user’s interest in Defendant’s products. An image of the code, as it

27
28
                                                  COMPLAINT
                                                     2
 1   appears side by side (and simultaneously) with the TikTok tracking code Defendant has placed on

 2   the page, can be seen here:

 3
 4
 5
 6
 7
 8
 9
10
11
12
13
            13.     The TikTok Software is deployed automatically when a user lands on Defendant’s
14
     website, as can be seen from the screenshot below, which shows the network activity of electronic
15
     impulses being sent to TikTok from defendant’s website the moment a user lands on the site.
16
17
18

19
20
21
22
23
24
25
26
27
28
                                              COMPLAINT
                                                 3
 1           14.      Thus, there is no way for website visitors to be informed (let alone consent) to the

 2   tracking of their web activity by TikTok since it happens automatically. The TikTok Software

 3   gathers device and browser information, geographic information, referral tracking, and url

 4   tracking.     The TikTok Software also requests, validates, and transmits other identifying

 5   information, including website visitors phone numbers and email addresses.

 6           15.      Data captured by the TikTok Software is sent to TikTok’s servers so that TikTok

 7   can reconstruct the user’s identity. As part of this arrangement, Defendant has the ability to use

 8   some of the data to run an advertising campaign on TikTok to promote financial services. TikTok,

 9   however, has complete access to data stored on its servers.

10           16.      The objective for TikTok is to gather as much information about Americans as they

11   can, by any means necessary. In this regard, TikTok has recently been identified as “a platform

12   for surveillance”1 by the director of the NSA.

13           17.      California Penal Code § 638.50(c). California law defines a “trap and trace device”

14   as “a device or process that captures the incoming electronic or other impulses that identify the

15   originating number or other dialing, routing, addressing, or signaling information reasonably likely

16   to identify the source of a wire or electronic communication, but not the contents of a

17   communication.” California Penal Code § 638.50(c).

18           18.      The TikTok Software is a process to identify the source of electronic

19   communication by capturing incoming electronic impulses and identifying dialing, routing,

20   addressing, and signaling information generated by users, who are never informed that the website

21   is collaborating with the Chinese government to obtain their phone number and other identifying

22   information.

23           19.      The TikTok Software is “reasonably likely” to identify the source of incoming

24   electronic impulses. It is designed solely to meet this objective.

25           20.      Defendant did not obtain Class Members’ express or implied consent to be

26   subjected to data sharing with TikTok for the purposes of fingerprinting and de-anonymization.

27
     1
      https://www.defense.gov/News/News-Stories/Article/Article/3354874/leaders-say-tiktok-is-potential-
28   cybersecurity-risk-to-us/
                                                     COMPLAINT
                                                        4
 1                                        CLASS ALLEGATIONS

 2          21.      Plaintiff brings this action individually and on behalf of all others similarly situated

 3   in a (the “Class”) defined as follows:

 4                   (a) All persons within California who within the statute of limitations

 5                   period whose chats were transcribed by third parties; and/or

 6                   (b) All persons within California who within the statute of limitations

 7                   period whose identifying information was sent to TikTok.

 8          22.      NUMEROSITY: Plaintiff does not know the number of Class Members but

 9   believes the number to be well into the thousands. The exact identities of Class Members may be

10   ascertained by the records maintained by Defendant.

11          23.      COMMONALITY: Common questions of fact and law exist as to all Class

12   Members, and predominate over any questions affecting only individual members of the Class.

13   Such common legal and factual questions, which do not vary between Class members, and which

14   may be determined without reference to the individual circumstances of any Class Member,

15   include but are not limited to the following:

16                a. Whether Defendant caused electronic communications from Class Members with

17                   the website to be recorded, intercepted, and/or monitored;

18                b. Whether Defendant aided and abetted a third-party in eavesdropping on such

19                   communications;

20                c. Whether Defendant installed the TikTok Software on the Website;

21                d. Whether the TikTok Software is a trap and trace process as defined by law;

22                e. Whether Plaintiff and Class Members are entitled to statutory penalties; and

23                f. Whether Class Members are entitled to injunctive relief.

24                g. Whether Class Members are entitled to disgorgement of data obtained unlawfully.

25          24.      TYPICALITY: As a person who visited Defendant’s Website and whose electronic

26   communication was subjected to a trap and trace process on Defendant’s Website, they are typical

27   of the Class.

28
                                                 COMPLAINT
                                                    5
 1          25.     ADEQUACY: Plaintiff will fairly and adequately protect the interests of the

 2   members of The Class. Plaintiff has retained attorneys experienced in the class action litigation.

 3   All individuals with interests that are actually or potentially adverse to or in conflict with the class

 4   or whose inclusion would otherwise be improper are excluded.

 5          26.     SUPERIORITY: A class action is superior to other available methods of

 6   adjudication because individual litigation of the claims of all Class Members is impracticable and

 7   inefficient. Even if every Class Member could afford individual litigation, the court system could

 8   not. It would be unduly burdensome to the courts in which individual litigation of numerous cases

 9   would proceed.

10                                      FIRST CAUSE OF ACTION

11                             Violations of California Trap and Trace Law

12                                        Cal. Penal Code § 638.51

13          27.     Plaintiff repeats and re-alleges the allegations contained in every preceding

14   paragraph as if fully set forth herein.

15          28.     California Penal Code §638.51 (the “California Trap and Trace Law”) provides that

16   “a person may not install or use…a trap and trace device without first obtaining a court order…”

17   § 638.51(a).

18          29.     A “trap and trace device” as “a device or process that captures the incoming

19   electronic or other impulses that identify the originating number or other dialing, routing,

20   addressing, or signaling information reasonably likely to identify the source of a wire or electronic

21   communication, but not the contents of a communication.” California Penal Code § 638.50(c).

22          30.     Defendant uses a trap and trace process on its Website by deploying the TikTok

23   Software on its Website, because the software is designed to capture the phone number, email,

24   routing, addressing and other signaling information of website visitors. As such, the TikTok

25   Software is designed precisely to identify the source of the incoming electronic and wire

26   communications to the Website. Defendant did not obtain consent from Plaintiff or any of the

27
28
                                                 COMPLAINT
                                                    6
 1   class members before using trap and trace technology to identify users of its Website, and has

 2   violated Section 638.51.

 3          31.     CIPA imposes civil liability and statutory penalties for violations of §638.51.

 4   California Penal Code § 637.2; see also, Greenley v. Kochava, 2023 WL 4833466, at *15-*16

 5   (S.D. Cal. July 27, 2023).

 6                                                  PRAYER

 7          WHEREFORE, Plaintiff prays for the following relief against Defendant:

 8          1.      An order certifying the Class, naming Plaintiff as the representative of the Class

 9   and Plaintiff’s attorneys as Class counsel;

10          2.      An order enjoining Defendant’s conduct as alleged herein and ordering

11   disgorgement of data acquired by the TikTok Software;

12          3.      Statutory damages pursuant to CIPA;

13          4.      Punitive damages;

14          5.      Reasonable attorneys’ fees and costs; and

15          6.      All other relief that would be just and proper, as determined by the Court.

16
     DATED: May 7, 2024                                   TAULER SMITH LLP
17
18

19                                                        By:    /s/ Robert Tauler
                                                                  Robert Tauler, Esq.
20                                                                Attorneys for Plaintiff
21                                                                Courtney Mitchener

22
23
24
25
26
27
28
                                                   COMPLAINT
                                                      7
 1                                DEMAND FOR JURY TRIAL

 2        Plaintiff Courtney Mitchener hereby demands a trial by jury.

 3
     DATED: May 7, 2024                               TAULER SMITH LLP
 4
 5
 6                                                    By:    /s/ Robert Tauler
                                                              Robert Tauler, Esq.
 7                                                            Attorneys for Plaintiff
 8                                                            Courtney Mitchener

 9
10
11
12
13
14
15
16
17
18

19
20
21
22
23
24
25
26
27
28
                                           COMPLAINT
                                              8
